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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



UNITED STATES OF AMERICA                                                      PLAINTIFF

V.                               NO. 4:12CR00071-004 SWW

STEPHANIE DENISE DOLPHIN                                                      DEFENDANT



                                              ORDER

       Pending before the Court is defendant’s motion for early termination of probation previously

imposed. The government objects to the early termination of probation, and the memorandum

prepared by the probation officer states that based on the criteria used by the U. S. Probation Office

to assess individuals requesting early termination, the defendant is not eligible at this time. The

Court has considered the defendant’s motion, government’s response and the U. S. Probation

Officer’s memorandum and finds that defendant’s motion should be denied at this time.

       IT IS THEREFORE ORDERED that defendant’s motion for early termination of probation

[doc #142] previously imposed be, and it is hereby, DENIED.

       Dated this 24th day of September 2014.



                                                      /s/Susan Webber Wright
                                                      United States District Judge
